Case 1:24-cr-00082-RMB Document9 Filed 04/29/24 Pagelof1
AO 458 (Rev. 06/09) Appearance of Counsel .

UNITED STATES DISTRICT COURT

for the
Daitad Stes >
Plaintiff ) 0
Keoune Rodi l( wee Case No. qu Cr.
Defendant )

APPEARANCE OF COUNSEL

To: The clerk of court and all parties of record

I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

PL ecune Kodvi que

Date: fp ry ( 2 t, 202.7 Fe EZ

titorney ’s signature

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